                                                                                                                                                                                                        Page:       1
                                       Case 1:15-bk-14714                 Doc 45    Filed 07/26/19 Entered 07/26/19 14:43:46                                        Desc
                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATEPage  1 of 4RECORD AND REPORT
                                                                                          PROPERTY
                                                                                                  ASSET CASES
Case No:              15-14714                         BAB            Judge:        Beth A. Buchanan                             Trustee Name:                       ERIC W. GOERING, Trustee
Case Name:            RUTH ALICE COLWELL                                                                                         Date Filed (f) or Converted (c):    12/08/2015 (f)
                                                                                                                                 341(a) Meeting Date:                01/06/2016
For Period Ending:    06/30/2019                                                                                                 Claims Bar Date:                    04/25/2016


                                   1                                                2                           3                             4                            5                            6

                         Asset Description                                       Petition/                Est Net Value               Property Formally              Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                   Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                    the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                                Assets
                                                                                                         and Other Costs)

  1. 1235 Beissinger Road, Hamilton, Ohio 45013                                          135,530.00                       0.00               OA                                       0.00                        FA
  2. 2008 Nissan Altima                                                                    6,081.00                       0.00               OA                                       0.00                        FA
  3. household good and furnishings; not one item is wt                                    2,000.00                       0.00                                                        0.00                        FA
  4. personal clothing                                                                       300.00                       0.00                                                        0.00                        FA
  5. miscellaneous jewelry                                                                   700.00                       0.00                                                        0.00                        FA
  6. First Financial Bank Checking                                                           300.00                       0.00                                                        0.00                        FA
  7. SERS                                                                                 16,068.57                       0.00                                                        0.00                        FA
  8. State Farm Tern policy-Debtor received                                                    0.00                       0.00                                                        0.00                        FA
  9. Debtors father passed in January 2015; there has b                                   Unknown                    7,681.00                                                         0.00                   7,681.00


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $160,979.57                 $7,681.00                                                      $0.00                    $7,681.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                 Page:   2
                                     Case 1:15-bk-14714
want to see tax returns - received 4/15/16 ok
                                                                      Doc 45         Filed 07/26/19           Entered 07/26/19 14:43:46   Desc
received email from attorney that she would handle father's estate 1/19/16                   Page 2 of 4
sent letter to attorney 4/7/16 requesting details regarding the estate
sent follow-up letter regarding estate 5/18/16
sent followup letter 3/10/17
sent followup letter 5/04/17
received email from attorney that they are moving forward with administering the estate and will keep us updated 5/26/17
sent letter for update on 10/18/17
letter 2/14/18
2/28/18 response from attorney with update
5/30/18 letter asking for when funds could be disbursed
followup on details regarding the estate of father 6/20/18
/email from attorney they are trying to sell two pieces of real estate7/23/18
follow up email 11/28/18, any updates??
1/23/19 received Probate Court of Butler Co. receipts and disbursement form from attorney
1/23/19 replied to email the Trustee would like $7681.56 turned over to his office
4/17/19 letter and email to attorney for funds to be turned over $7681.56
4/17/19 email from attorney that Debtor is having health issues
5/24/19 letter again to attorney that funds need to be turned over
7/2/19 telephone call to attorney, funds were turned over to Debtor without Trustee approval
7/2/19 motion for 2004 exam set up for 7/19/19 for Debtor to bring funds to Trustee




Initial Projected Date of Final Report (TFR): 12/30/2016          Current Projected Date of Final Report (TFR): 12/31/2019

Trustee Signature:      /s/ ERIC W. GOERING, Trustee          Date: 07/23/2019
                        ERIC W. GOERING, Trustee
                        220 W. THIRD STREET
                        Ste. 399
                        CINCINNATI, OH 45202

                        (513) 621-0912
                        EricG@fuse.net
                                                                                                                                                                                        Page:           1
                                    Case 1:15-bk-14714                Doc 45 Filed 07/26/19
                                                                                      FORM 2     Entered 07/26/19 14:43:46                            Desc
                                                                                    Page
                                                                  ESTATE CASH RECEIPTS AND3DISBURSEMENTS
                                                                                            of 4          RECORD
           Case No: 15-14714                                                                                       Trustee Name: ERIC W. GOERING, Trustee
      Case Name: RUTH ALICE COLWELL                                                                                  Bank Name:
                                                                                                            Account Number/CD#:


  Taxpayer ID No:                                                                                  Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 06/30/2019                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                  5                  6                     7

Transaction Date    Check or            Paid To / Received From                   Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                 Code                                                         ($)
                                No Bank Accounts



                                                                                                      COLUMN TOTALS                                   $0.00                $0.00
                                                                                                            Less: Bank Transfers/CD's                 $0.00                $0.00
                                                                                                      Subtotal                                        $0.00                $0.00
                                                                                                            Less: Payments to Debtors                 $0.00                $0.00
                                                                                                      Net                                             $0.00                $0.00




                                                                             Page Subtotals:                                                          $0.00                $0.00
                                                                                                                                                                  Page:     2
                             Case 1:15-bk-14714                 Doc 45       Filed 07/26/19 Entered 07/26/19 14:43:46          Desc
                                                                                  Page 4 of 4

                                                                                              TOTAL OF ALL ACCOUNTS
                                                                                                                                              NET             ACCOUNT
                                                                                                            NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                    -                                                                 $0.00                  $0.00                 $0.00
                                                                                                                      $0.00                  $0.00                 $0.00

                                                                                                          (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                  transfers)            to debtors)
                                                Total Allocation Receipts:                       $0.00
                                                Total Net Deposits:                              $0.00
                                                Total Gross Receipts:                            $0.00



Trustee Signature:   /s/ ERIC W. GOERING, Trustee       Date: 07/23/2019

                     ERIC W. GOERING, Trustee
                     220 W. THIRD STREET
                     Ste. 399
                     CINCINNATI, OH 45202

                     (513) 621-0912
                     EricG@fuse.net




                                                                           Page Subtotals:                                       $0.00                $0.00
